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                        Exhibit A
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Jonathan R. Peters
Professor of Finance and Chair of Department
Department of Accounting and Finance               Tel: 718-982-2958
The College of Staten Island                       Fax: 718-982-2965
2800 Victory Blvd.                                 email: jonathan.peters@csi.cuny.edu
Staten Island, NY 10314

Member of the Doctoral Faculty
The Ph.D. Program in Economics
The Ph.D. Program in Earth and Environmental Science
The City University of New York Graduate School

Research Fellow
The University Transportation Research Center – Region II
The City College of New York

EDUCATION
The City University of New York, Ph.D., Economics, 1992
Hunter College, MA, Economics, 1990
The College of Staten Island, BS, Economics, 1986
The College of Staten Island, AAS, Civil Engineering Technology, 1984

PROFESSIONAL EXPERIENCE
The CUNY Graduate School, Member of the Doctoral Faculty, Economics 2011 - Present
The CUNY Graduate School, Member of the Doctoral Faculty, Earth and Environmental Science
2010 – Present
The College of Staten Island, Professor, Tenured, 2010-Present
The College of Staten Island, Associate Professor, Tenured, 2006-2009
The College of Staten Island, Assistant Professor, 2000 – 2006
Wagner College, Assistant Professor, 1996-2000
AT&T Corporation, Lead Analyst – International Demand Analysis & Forecasting, 1994-1996
AT&T Corporation, Lead Analyst – Domestic Forecasting, 1991-1994

INVITED EXPERT WITNESS
Connecticut Governor’s Transportation Finance Panel – Transportation Finance – June 2015
The Inspector General of the City of Chicago – Parking Meter Leases - June 2009.
The Nevada State Senate Energy, Infrastructure and Transportation Committee - Road Pricing &
Transportation Finance – April 2009
The Nevada State Assembly Transportation Committee – Road Pricing & Transportation Finance -
April 2009
U.S. Government Accountability Office (Formerly the General Accounting Office) – Innovative
Finance for Transportation Projects – February 2009
The Federal Communication Commission – AT&T Corporation International Nondominance
Petition – Monopoly Power in Markets and Price Regulation – November 1995
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ACADEMIC AND PROFESSIONAL HONORS

Dolphin Award for Outstanding Service to the College of Staten Island – June 2014

Divisional Award to Faculty for Reassigned Time for Research: "A Model of Highway Toll
Collection: Estimates of Queuing Costs and Fuel Consumption," 4 Credits, Fall 2002.

GRANTS

New York State Department of Transportation – Regional Transportation Financing Options
Study - $50,000 – May 2015.

Transportation Alternatives – New York City Bikeshare Economic Analysis - $9,000 – June
2013.

Staten Island Board of Realtors – Post Sandy Staten Island Grant - $15,000 – June 2013.

Staten Island Foundation – Staten Island Cultural Data Project - $25,000 – March 2011.

Job Access and Reverse Commute Grant. New York State Department of Transportation. Co-PI
with Marguerite Fuller and Ed Rios, $187,000 – Provides 20% Funding for CSI Ferry Shuttle
Service. June 2009.

Job Access and Reverse Commute Grant. New York State Department of Transportation. Co-PI
with Lisa Ebert, $410,000 – Provides 50% Funding for CSI Ferry Shuttle Service. June 2008.

NYS Assembly – Lavalle/Titone - Staten Island Affordable Housing Study Research Grant with
Cameron Gordon, $10,000, Spring 2007.

Independence Bank Foundation Research Grant: “Winners and Losers in the 1898 Consolidation
of New York City,” with Cameron Gordon, $8,333, Spring 2005.

Staten Island Chamber of Commerce Transportation Scoping Project with Cameron Gordon,
$5,000, Spring 2004.

Center for Excellence in Learning Technology (CELT) Mini Grant: “Finance / Economics 240
Advanced Technology Site,” with George Wang, $2,500, Spring 2004.

Center for Excellence in Learning Technology (CELT) Mini Grant: “Teaching Materials for
Finance Program,” $2,500, Spring 2003.

PSC-CUNY Award #64567-00 33: "Economic Value Added and the Cost of Capital," $2,750,
July 2002.
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whom the CPI tolls: reporting of road pricing in the Consumer Expenditure Survey”. Accepted
for Publication in Transportation Research Record: Journal of the Transportation Research
Board. In Press.

King, David A. and Peters, Jonathan R. (2014) “Slow Down, You Move Too Fast: The Use of
Tolls by Taxicabs in New York City" Accepted for Publication in Urban, Planning and Transport
Research, Belfast, Northern Ireland. In Press.

Kramer, Jonathan K., Walker, John S., Peters, Jonathan R. (2014) "Help Your Students Realize
Their Retirement Dreams by Quantifying the Cost of Procrastination". Journal of Economics
and Finance Education. Volume 13. Number 1, 45-57.

David A. King, David A., Gordon, Cameron E., Peters, Jonathan R. (2014) “Does Road Pricing
Affect Port Freight Activity: Recent Evidence from the Port of New York and New Jersey”
Research in Transportation Economics. Volume 44. Pages 1-70 - Summer 2014, 2-11.

Gordon, Cameron Elliott, Bajrami, Bukurije, Santiago, Nora & Peters, Jonathan Richard
(2013) “A Bridge Too Far? Staten Island, New York-Hudson-Bergen Light Rail Missed
Connection”. Journal of Public Transportation. Volume 16, Number 3, 1-22.

Gordon, Cameron E., Kress Michael E. and Peters, Jonathan R. (2013) “ Microstructure in
Transport Markets: an analysis of a detailed database of New York City taxicabs”. The Journal
of Science and Technology. Published by the Vietnam Academy of Science and Technology.
Hanoi, Vietnam.

Peters, Jonathan R. and Kramer, Jonathan K. (2012) "Just Who Should Pay for What? Vertical
Equity, Transit Subsidy and Road Pricing: The Case of New York City". Journal of Public
Transportation. Volume 15. Number 2, 117-136.

Peters, Jonathan R., Shim, Hyoung Suk and Kress, Michael E. (2011) “Disaggregate Multimodal
Travel Demand Modeling Based on Road Pricing and Access to Transit”. Transportation
Research Record: Journal of the Transportation Research Board. Volume 2263, 57-65

Shim, Hyoung Suk and Peters, Jonathan R. (2011) “Electronic Toll Collection Systems and
Travel Demand: A Field Experiment of Toll Facilities in New York City”. The Journal of
Regional Studies and Development. Volume 20, Number 1, 407-438.

Gordon, Cameron E. and Peters, Jonathan R. (2011) “Applying Lorenz Curves to a Detailed Data
Set of User of Metropolitan Transportation Administration Bridges in New York City”.
Transportation Research Record: Journal of the Transportation Research Board. Volume 2221,
96-103.
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Chaudhry, Peggy A., Peters, Jonathan R., Zimmerman, Alan, and Cordell, Victor V. (2009)
“Evidence of Managerial Response to the Level of Consumer Complicity, Pirate Activity, and
Host Country Enforcement of Counterfeit Goods: An Exploratory Study”. Multinational
Business Review. Winter 2009 Volume 17, Issue 4, 21-44.

Peters, Jonathan R. and Gordon, Cameron (2009) “Results Not Guaranteed: A Tale of Road
Pricing in New York and London”. Journal of Urban Technology. Volume 16, Number 1, 113-
131.

Peters, Jonathan R. and Gordon, Cameron (2008) “Measuring Equity Burden in Public Service
Provision: The Case of New Jersey Toll Roads”. Economics Papers. Volume 27, Number 4, 381-
392.

Kramer, Jonathan K. and Peters, Jonathan R. (2008) “The Shareholder Wealth Implications of
Strike Size and Duration”. The Journal of the Northeastern Association of Business, Economics
and Technology, Volume 14, Number 1, 1-6.

Chaudhry, Peggy A., Zimmerman, Alan, Peters, Jonathan R., and Cordell, Victor V. (2008)
“Preserving Intellectual Property Rights: Managerial Insight into the Escalating Counterfeit
Market Quandary” (MS#7136R1)” Business Horizons, 52(1), 57-66.

Peters, Jonathan R. and Kramer, Jonathan K. (2005) “Seasonal Variation in the Environmental
Effects of Toll Collection: Evidence from the Garden State Parkway” Public Works Management
& Policy, 9(4), 287-291

Peters, Jonathan R. and Kramer, Jonathan K. (2003) “The Inefficiency of Toll Collection as a
Means of Taxation: Evidence from the Garden State Parkway,” Transportation Quarterly, 57(3),
17-31.

Peters, Jonathan R. and Sterns, Donald E. (2003) "Bringing Educational Relevancy to the First-
Year College Experience by Bearing Witness to Social Problems," The Journal of Experiential
Education, 25(3), 332-342.

Kramer, Jonathan K. and Peters, Jonathan R. (2001) “An Interindustry Analysis of Economic
Value Added as a Proxy for Market Value Added," Journal of Applied Finance, 11(1), 41-49.

Kramer, Jonathan K. and Peters, Jonathan R. (2001) "Using Internet-based Portfolio Simulations
in a Variety of Courses," Pennsylvania Journal of Business and Economics, 8(1), 25-32.

REFEREED PROCEEDINGS
Peters, Jonathan R. and Kramer, Jonathan K. (2010) “Social Equity and Road Pricing: Analysis
of the Overlooked Case of New York City” Proceedings of the Transportation Research Board
of the National Academies of Science 2010 Annual Meeting.
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Peters, Jonathan R. and Gordon, Cameron (2008) “Results not guaranteed: A tale of road pricing
in New York and London” Proceedings of the Transportation Research Board of the National
Academies of Science 2008 Annual Meeting.

Peters, Jonathan R., Kress, Michael E. and Kramer, Jonathan K. (2006) "Transitioning Barrier
Toll Collection Systems to Open Road Tolling: Flow and Management Issues," Proceedings of
the Transportation Research Forum, New York, New York.

Peters, Jonathan R. and Kramer, Jonathan K. (2001) "A Model of the Total Cost of Highway
Toll Collection," Proceedings of the Association of Pennsylvania University Business and
Economic Faculties, 39-42.

Kramer, Jonathan K. and Peters, Jonathan R. (2000) "An Interindustry Analysis of Economic
Value Added as a Proxy for Market Valued Added,” Proceedings of the Association of
Pennsylvania University Business and Economic Faculties.

Kramer, Jonathan K, and Peters, Jonathan R. (1998) "Using Portfolio Simulations Across the
Finance Curriculum," Proceedings of the Association of Pennsylvania University Business and
Economic Faculties, 53-68.

Peters, Jonathan R. (1997) "Optional Calling Plan Migration and Industry Dynamics in the
International Consumer Long Distance Marketplace," Proceedings of the Services Infrastructure
Performance Symposium at AT&T Laboratories, 150-161.

OTHER PUBLICATIONS

ABSTRACTS
Walsh B, Silverman, Michael E; Schaeffer, T; Peters Jonathan R. Reliability of prehospital
estimated time of arrival. (Poster Presentation) NJACEP Annual Assembly, East Windsor, New
Jersey. May 8, 2008.

Silverman, Michael, Peters, Jonathan R. and McClister, P.B. “Incidence of Emesis in Pediatric
Patients Receiving Oral Prelone: Can We Predict Those at Risk for Emesis?,” The American
College of Emergency Medicine Research Forum (October 12, 2003), Boston, Massachusetts.

IN PROGRESS

PRINT

SUBMITTED FOR PUBLICATION

David A. King, David A., Gordon, Cameron E., Peters, Jonathan R. “Economic development
implications of road pricing: a preliminary micro-data case study of New York City road tolls”
TRB Submission Number: 16-1378 (August 2015)
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Bueno, Paola C., Gomez, Juan, Peters, Jonathan R. and Vassallo, José Manuel. “Private transport
or public transit? Factors affecting commuters´ choice in New York and New Jersey”
TRB Submission Number: 16-3822 (August 2015)

IN PREPARATION

Gordon, Cameron E., Kress, Michael E. and Peters, Jonathan R. “Serving Latent Demand for
Transit in Older Medium Density Communities: An Analysis of Small New Transit Starts in
Staten Island”, 10 Pages.

Peters, Jonathan R., Gordon. Cameron E., Santiago, Nora, and Begai, Bukurije, “Equity
Analysis for Transit: The Case of the College of Staten Island Shuttle”, 14 Pages.

Peters, Jonathan R., Kress, Michael E. and Gordon, Cameron E. “The Role of Social Equity of
Bus Rapid Transit Route Selection: The Case of New York City”, 24 Pages.

Gordon, Cameron E. and Peters, Jonathan R. “From Core to Periphery: Decentralization and
Transport Investment in New York City”, 15 pages.

Peters, Jonathan R., Kramer, Jonathan K. and Kress, Michael E. “Transitioning Barrier Toll
Collection Systems to Open Road Tolling: Flow and Management Issues”, 24 pages.

Gordon, Cameron and Peters, Jonathan R., “Winners and Losers in the 1898 Consolidation of
New York City”, 10 pages.

Kramer, Jonathan K. and Peters, Jonathan R., “Is Market Value Added Equal to the Present
Value of Future EVA’s?”, 14 pages.

Gordon, Cameron and Peters, Jonathan R., “The Missing Links – Regional Growth and Planning
in the Southern Corridor of New York 1890-1990”, 10 pages.

Kramer, Jonathan K. and Peters, Jonathan R., “Can Economic Value Added Help Identify
Speculative Bubbles?”, 20 pages of statistical results.

JOURNAL PEER REVIEW WORK

Journal of Urban Technology
Research in Transportation Economics
Transportation Research Record
Northeastern Association of Business, Economics and Technology Journal

PUBLIC POLICY WORK

External Transportation Community Service
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CSI Staten Island Leadership Program – Lecturer on Transportation, Population and the
Economy (3 Lectures). 2003 to Present.

Staten Island Economic Development Corporation - GIS and Hudson Bergen Light Rail
Analysis

Staten Island Chamber of Commerce – Tolling and Transportation Policy

The Brooklyn Waterfront Research Center at New York City Technical College – Brooklyn
Waterfront and Maritime Industries – Data and Research Support

The New York State Department of Transportation

Transportation Policy Service and Support to All Staten Island Elected Officials at the
City, State and Federal Level – including:

Congressman Michael Grimm – Tolling and Transportation Polity

Congressman Michael McMahon – Tolling Policy and Mass Transit

State Senator Andrew Lanza – Freight and Maritime Industry

State Senator Senator Martin Golden – Brooklyn – MTA Service Cuts & Social Justice Issues

State Senator Diane Savino – Transportation and Economic Development

The Borough President of Staten Island James Molinaro - Transportation

The Borough President of Staten Island James Oddo – Transportation and Growth

Assemblywoman Nicole Malliotakis – Port Authority Toll Impacts on Port Commerce

Assemblyman Michael Cusick – Tolling and Mass Transit

Assemblyman Louis Tobacco – Tolling Policy

Assemblyman Vincent Ignizzio – Tolling and Transit Policy

NYC Councilwoman Debbie Rose – Transportation and Urban Planning

CURRICULUM DEVELOPMENT

CSI M.S. Program in Management – Business Analytics of Large Scale Data Concentration -
2015

CSI Graduate Certificate Program in Business Analytics of Large-Scale Data – 2013-2014

CUNY Pathways Working Group: July 2011 – June 2012.
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CSI General Education Committee: September 2011 to 2013

CSI Faculty Senate: Pathways Implementation Committee: March 2012 to June 2013

Curriculum Committee Member: National Transportation Leadership Graduate Certificate,
National Academies of Science and Pennsylvania State University. Region II Representative –
Mid-Atlantic Region. 2008-present.

CSI Curriculum Consultation Subcommittee Member – Undergraduate Curriculum Committee.
January - October 2006.

Finance Major – Revised Curriculum with L. Nowak and J.G. Wang – Fall 2006.

Supply Chain Management – Proposed Minor in Field with C. Gordon and S. Chun. – Fall 2005

OTHER PROFESSIONAL ACTIVITIES

TECHNICAL REPORTS
Peters, Jonathan R. and Gordon, Cameron E. “Analysis of Alternative Funding Sources” for The
New York Roadway Improvement Coalition. New York, New York. November 9, 2009. 78
pages.

Peters, Jonathan R. “The CSI Shuttle System: Project Review and Proposed Additions” Special
Report for The New York State Department of Transportation. Albany, New York. April 13, 2009.
14 Pages.

Peters, Jonathan R. “Toll Burden in the New York Metropolitan Region: Social Equity and
Measures of Burden” Special Report for State Assemblyman Louis Tobacco. Albany, New York,
April 9, 2009. 9 Pages.

Gordon, Cameron E. and Peters, Jonathan R. “Frequently Asked Questions for Highway Funding
Proposals” American Trucking Associations Special Report and Technical Glossary. February 20,
2009. 16 Pages.

Peters, Jonathan R, Paaswell, Robert and Berechman, Joseph. “Economic Competitiveness:
Performance Measures for Transportation”. New York State Department of Transportation
Research Project C-06-28. November 5, 2008. 15 Pages.

Peters, Jonathan R. “Preliminary Analysis of the Regional and Social Impacts of the Proposed
Monetization of New Jersey’s Toll Roads”. Special Report for the State Assemblyman Declan
O’Scanlon and Assemblywoman Caroline Casagrande. Trenton, New Jersey. January 30, 2008.
12 Pages.
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Peters, Jonathan R. and Kress, Michael E. “Traffic Flow Modeling: Operational Issues on Staten
Island”. Special Report for the Borough President of Staten Island. Staten Island, New York,
February 11, 2006. 5 pages.

Peters, Jonathan and Perrotta, Alexis, “What Are the Best Practices?: Well-Designed Legislation
and Agreements Help Ensure Successful Projects” Briefing paper for the New York State
Department of Transportation. Prepared for the conference Partnerships for New York:
Innovative Transportation Financing and Contracting Strategies: Opportunities for New York
State, Albany, New York, March 8, 2006. 6 pages.

Perrotta, Alexis and Peters, Jonathan,“Where Has This Been Implemented?: Case Studies in
Public-Private Partnerships” Briefing paper for the New York State Department of
Transportation. Prepared for the conference Partnerships for New York: Innovative
Transportation Financing and Contracting Strategies: Opportunities for New York State, Albany,
New York, March 8, 2006. 6 pages.

Peters, Jonathan R. “Estimation Techniques for Monthly Seasonality Effects in
Telecommunications Data” presented at the AT&T Forecaster's Technical Meeting, Morristown,
New Jersey, September 1994, 5 pages.

Peters, Jonathan R. “Forecasting Immigration and Foreign Born Population: Alternative
Techniques and Outcomes” presented at the AT&T Immigration Task Force Spring Symposium,
Morristown, New Jersey, February 1994, 10 pages.

Peters, Jonathan R. “The International Consumer Long Distance Industry Econometric Models:
Forecasting and Applications” presented at the AT&T Forecaster's Technical Meeting, Basking
Ridge, New Jersey, December 1993, 6 pages.

LECTURES AND PAPERS PRESENTED

Peters, Jonathan R. “Transportation Finance in 2013: A Critical Review of PPPs, Tolls, and
Other Pricing Schemes” The Road Gang - Washington's Transportation Fraternity, Washington,
DC, October 31, 2013.

Peters, Jonathan R., Kramer, Jonathan K. and Kress, Michael E. “The Financial Performance of
Toll Road Agencies: Pre and Post the 2007-2008 Financial Crisis” Northeastern Association of
Business, Economics and Technology. State College Pennsylvania. October 18, 2013

Peters, Jonathan R. “Pricing the Interstates
                                      state – 2013: Options and Issues - Recent Policy
Discussions in Transportation Funding”g” National
                                         N        Association of Truck Stop Operators.
NATSO Day on Capitol Hill. Washington, DC. May 7, 2013.

Peters, Jonathan R. “New Funding Sources -Transportation Revenue For New York – Choices
on the Horizon” The New York State Motor Truck Association. Floral Park, New York.
February 13, 2013.
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Gordon, Cameron E. and Peters, Jonathan R. “Funding Urban Transportstin New York: The
Revenue Potential of VMT and “Carbon” Taxes in New York State” 92 Annual Meeting of
The Transportation Research Board of The National Academies of Science (January 13-17,
2013). Washington, DC.

Peters, Jonathan R. “Robert Moses and Staten Island: Just Enough Moses to Cause Mayhem” in
the presentation and panel discussion - Staten Island Traffic Report – The Moses Legacy and
Beyond. The Museum of The City of New York, New York, New York. October 24, 2012.

Peters, Jonathan R. “Transportation Finance 2012: Mid-Atlantic Issues in Transportation
Funding” Maryland Motor Truck Association Annual Meeting, Cambridge, Maryland.
September 24, 2012.

Peters, Jonathan R. “New York State Transportation Funding: Rough Road Ahead!” New York
State Motor Truck Association Annual Meeting, Westchester, New York. September 15, 2012.

Peters, Jonathan R. “Highway Funding in 2012: Transportation Financing Methods and
Measures of Success” Trucking Association Executive Council Annual Meeting, American
Trucking Association. Park City, Utah. July 23, 2012.

Peters, Jonathan, Davidson, Adam, Flanagan, Richard and Gordon, Cameron. “Contested
Waterfronts – Port Commerce and Urban Land Use: On the Waterfront in Brooklyn - 2012”.
Committee on the Maritime Transportation System & Transportation Research Board –
Diagnosing the Maritime Transportation System Conference (June 26 – 28, 2012). Washington
DC.

Brigandi, Thomas and Peters, Jonathan. “Financing the Future: Financial Performance,
Modernization and Funding Options for the Port Authority's Staten Island Bridges”. Committee
on the Maritime Transportation System & Transportation Research Board – Diagnosing the
Maritime Transportation System Conference (June 26 – 28, 2012). Washington DC.

Davidson, Adam L., Peters, Jonathan R., & Shim, Hyoung S. “Why Can’t I Get a Cab? A look
into the Geography of where cabs roam in New York”. Association of American Geographers
Annual Meeting (February 24 – 28, 2012). New York, New York.

King, David, Peters, Jonathan Richard & Daus, Matthew. “Taxicabs for Improved Urban
Mobility: Are We Missing an Opportunity?”. 91st Annual Meeting of The Transportation
Research Board of The National Academies of Science (January 22-26, 2012). Washington, DC.

King, David & Peters, Jonathan Richard. “Slow Down, You Move Too Fast: Use of Tolls by
Taxicabs in New York City”. 91st Annual Meeting of The Transportation Research Board of The
National Academies of Science (January 22-26, 2012). Washington, DC.

Peters, Jonathan Richard & Kramer, Jonathan K. ”Just Who Should Pay for What? Vertical
Equity, Transit Subsidy, and Road Pricing--Case of New York City”. 91st Annual Meeting of
The Transportation Research Board of The National Academies of Science (January 22-26,
2012). Washington, DC.
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Gordon, Cameron Elliott & Peters, Jonathan Richard. “Measuring Toll Burdens: Applying
Lorenz Curves to a Detailed Data Set of Users of Metropolitan Transportation Administration
Bridges in New York City”. 90th Annual Meeting of The Transportation Research Board of The
National Academies of Science (January 23-27, 2011). Washington, DC.

Peters, Jonathan Richard, Shim, Hyoung & Kress, Michael E. “Disaggregate Multimodal Travel
Demand Modeling Based on Road Pricing and Access to Transit”. 90th Annual Meeting of The
Transportation Research Board of The National Academies of Science (January 23-27, 2011).
Washington, DC.

Gordon, Cameron Elliott, Bajrami, Bukurije, Santiago, Nora & Peters, Jonathan Richard.
“A Bridge Too Far? Staten Island, New York-Hudson-Bergen Light Rail Missed Connection”.
90th Annual Meeting of The Transportation Research Board of The National Academies of
Science (January 23-27, 2011). Washington, DC.

Peters, Jonathan R. and Kramer, Jonathan K. “Social Equity and Road Pricing: Analysis of the
Overlooked Case of New York City”. 89th Annual Meeting of The Transportation Research
Board of The National Academies of Science (January 10-14, 2010). Washington, DC.

Peters, Jonathan R. “Using Lorenz Curves to Measure Social Equity in Road Pricing”. 89th
Annual Meeting of The Transportation Research Board of The National Academies of Science
(January 10-14, 2010). Washington, DC.

Peters, Jonathan R. “Strategies for South Carolina – Transportation Financing Methods and
Measures of Success”. South Carolina Trucking Association Board of Directors Annual
Meeting. Clemson, South Carolina. October 13, 2009.

Peters, Jonathan R. “Funding Strategies for New York”. 42nd New York State Motor Truck
Association Annual Conference. Alexandria Bay, New York. September 26, 2009

Peters, Jonathan R. “Highway Funding Options – Revenue, Financing Methods and Measures of
Success”. Multi-state Highway Transportation Agreement 2009 Summer Conference. Portland,
Oregon. July 13, 2009.

Peters, Jonathan R. “Performance Metrics in Road Pricing: What Actually is Good
Performance?”. Third Annual Toll Roads Conference – sponsored by the American Association
of State Highway and Transportation Officials (AASHTO). Washington DC. February 26, 2009.

Peters, Jonathan R. and Gordon, Cameron E. “Highway Funding Issues 2009: Fuel Taxes, Road
Pricing, PPP’s and Toll Collection Systems”. Annual Meeting of the Trucking Association
Executives Council, American Trucking Associations. Arlington, Virginia. February 21, 2009.

Peters, Jonathan R. and Kramer, Jonathan K. “Measuring Equity Burden in Public Service
Provision: Evidence from New York Metropolitan Region”. 88th Annual Meeting of The
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Provision: Case of New Jersey Toll Roads”. 88th Annual Meeting of The Transportation
Research Board of The National Academies of Science (January 11-15, 2009). Washington, DC.

Peters, Jonathan R. and Kress, Michael E. “Transit Access, Social Equity and Bus Rapid Transit
in New York City: Fits and Starts to a New Future”. Impact of Changing Demographics on the
Transportation System Conference. Transportation Research Board of The National Academies
of Science. Washington, DC. October 27, 2008.

Gordon, Cameron and Peters, Jonathan. “From Core to Periphery: Decentralization and
Transport Investment in New York City”. Impact of Changing Demographics on the
Transportation System Conference. Transportation Research Board of The National Academies
of Science. Washington, DC. October 27, 2008.

Peters, Jonathan. “Examples Next Door: Experiences of New Jersey and Pennsylvania (and
Oregon too)”. New York State Department of Transportation’s Beyond the Gasoline Tax
Symposium. Syracuse, New York. October 7, 2008.

Kramer, Jonathan K and Peters, Jonathan R. “An Empirical Analysis of the Ex-Post Relationship
between Economic Value Added and Market Value Added”. Faculty of Business and
Government Seminar Series, University of Canberra, Canberra, Australia. August 22, 2008.

Peters, Jonathan R, Kramer, Jonathan K. and Kress, Michael E. “Transportation Funding:
Costs Issues and Performance Measures in Toll Systems” National Institute of Governance,
Canberra, Australia. August 20, 2008

Peters, Jonathan R. “Future Technology Needs: Modeling and Simulation for Regional
Planning”. National Center for Social and Economic Modeling. Canberra, Australia. August 20,
2008

Peters, Jonathan R. “Tolling and Road Monetization - Environmental Justice Impacts and
Issues: Evidence from Electronic Tolling”. Transportation Economics Committee,
Transportation Research Board Summer Meetings, Baltimore, Maryland. June 16, 2008.

Gordon, Cameron and Peters, Jonathan R. “Staten Island Housing & Economic Development
What’s Next for the Forgotten Borough?” College of Staten Island Center for the Study of Staten
Island Conference. Staten Island, New York. April 11, 2008.

Peters, Jonathan R. “Transportation System Options – Staten Island, New York” Staten Island
Light Rail Panel. College of Staten Island Center for the Study of Staten Island Conference.
Staten Island, New York. April 11, 2008.
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Peters, Jonathan R. and Kress, Michael E. “Bus Rapid Transit in New York City – Fits and Starts
to a New Future?”. Mid-Atlantic Chapter of the Urban and Regional Information Systems
Association 14th Regional Geographic Information Systems Conference. Mount Laurel, New
Jersey. April 9, 2008

Peters, Jonathan R. “Staten Island’s Economy in the 21st Century – Trends and Issues”.
Staten Island Chamber of Commerce Economic Development Conference, Staten Island, New
York. March 12, 2008.

Peters, Jonathan R. “Traffic Flow Modeling at Toll Plazas – Management and Operational
Issues”. Presentation to City Council Speaker Christine Quinn and City Council Member James
Oddo. March 2008.

Peters, Jonathan R. “New Jersey Road Monetization: Regional Impacts and Issues.” Two Rivers
Council of Mayors. Little Silver, New Jersey. February 2, 2008

Peters, Jonathan R. and Paaswell, Robert. “Asset Monetization: What Are the Issues?” Briefing
to the Communications Workers of America. Rutgers Labor Education Center, New Brunswick,
New Jersey. January 25, 2008

Peters, Jonathan R. and Gordon, Cameron “Tolling and Road Monetization - Environmental
Justice Impacts and Issues: Evidence from Electronic Tolling”. Transportation Economics
Committee, Transportation Research Board Annual Meeting, Washington, DC. January 14,
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Road Pricing in New York and London”. Annual Meeting of The Transportation Research
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Peters, Jonathan R and Gordon, Cameron. “Status Report on the New York City Congestion
Charging Zone: Politics and Process” Transportation Research Board Economics Committee.
Annual Meeting of The Transportation Research Board of The National Academies of Science
(January 13-17, 2008). Washington, DC.

Peters, Jonathan R. and Kress, Michael E. “Utilizing GIS to Understand the Ridership,
Demographics and Social Equity of Bus Rapid Transit Route Selection: Examples from New
York City.” The 2007 New Jersey Department of Transportation Research Showcase, November
28, 2007. Ewing, New Jersey.

Peters, Jonathan R. and Gordon, Cameron. “Results Not Guaranteed: A Tale of Road Pricing in
New York and London.” The 2007 New Jersey Department of Transportation Research
Showcase, November 28, 2007, Ewing, New Jersey.

Peters, Jonathan R. “Selling Depreciation for Tax Purposes: Should We Be Concerned?” Session
on Toll Road Leasing: Real Issues and Red Herrings. Seventh National Conference on
Transportation Asset Management sponsored by the Transportation Research Board of The
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National Academies of Science and the Federal Highway Administration. New Orleans,
Louisiana. November 7, 2007.

Peters, Jonathan R., Kramer, Jonathan K. and Kress, Michael E. “Estimating Toll Plaza Flow
Performance Using Computer Simulations: Designing and Managing Plaza Performance”
The Northeastern Association Business, Economics and Technology Annual Meeting. State
College, Pennsylvania. October 25, 2007.

Peters, Jonathan R. “Staten Island Warehousing and Port Commerce: History and Future Trends”
Presentation to New York State Senator Andrew J. Lanza, NY State Senate District 13. Staten
Island, New York. September 6, 2007

Peters, Jonathan R. “Congestion Pricing and the “Green” PLANYC” Transportation Research
Board of the National Academies of Science Summer Meeting – Economics Committee.
Chicago, Illinois. July 8, 2007

Tour Guide: “Riding” Walking Tour of the Transit Systems of New York & New Jersey.
Municipal Arts Society. New York, NY, Jersey City, and Hoboken, New Jersey. April 2, 2007

Invited Speaker: Regional Planning and Transit Oriented Development. Municipal Art Society.
New York, New York. March 23, 2007.

Kress, Michael E. and Peters, Jonathan R. “GIS Applications for Small Business on Staten Island”.
NY State Small Business Development Center at Staten Island, Staten Island, New York.
March 21, 2007

Invited Speaker: Getting There – “Honey, I’m Home”: Commuting in the New York Metro
Region. Municipal Art Society. New York, New York. March 16, 2007

Kress, Michael E. and Peters, Jonathan R. “Road Toll System Optimization and Traffic Flow
Modeling”. Computational Science and Interdisciplinary Applied Mathematics Seminar. The
College of Staten Island, Staten Island, New York. February 22, 2007

Peters, Jonathan R., Kramer, Jonathan K. and Kress, Michael E. “Estimating the Air Quality
Impacts of Hybrid Toll Plaza Operations Using Monte Carlo Simulation” Annual Meeting of
The Transportation Research Board of The National Academies of Science (January 22-26,
2007) Washington, DC.

Tour Guide: Walking Tour of the Staten Island Waterfront. Municipal Arts Society. New Jersey
and New York. November 25, 2006.

Peters, Jonathan R. Kramer, Jonathan K. and Kress, Michael E. “Transitioning Barrier Toll
Collection Systems to Open Road Tolling: Flow and Management Issues”. Annual Meeting of
The Transportation Research Board of The National Academies of Science (January 22-26,
2006) Washington, DC.
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Peters, Jonathan R., Kramer, Jonathan K. and Kress, Michael E. “The Financial Performance of
Toll Collection Systems: Metrics and Measurement.” Presented at the 2005 Association of
Pennsylvania Business and Economics Faculty Conference. State College, Pennsylvania,
October 20, 2005.

Peters, Jonathan R. Kramer, Jonathan K. and Kress, Michael E. “The Financial Performance of
Toll Collection Systems: Metrics and Measurement” The 2005 New Jersey Department of
Transportation Research Showcase, October 14, 2005, Princeton, New Jersey.

Gordon, Cameron, and Peters, Jonathan R. “Serving the Transport Needs of Core and Periphery
in the New York City Region”. New York Metropolitan Transportation Council (May 17, 2005),
New York, New York.

Peters, Jonathan R., and Iliff, John, “High Technology Teaching Tools for Economics & Finance
Courses: Using Internet Based Financial Information & Simulators,” The Eastern Economic
Association Annual Meeting (March 19-21, 2005), New York, New York.

Peters, Jonathan R., Kramer, Jonathan K., and Kress, Michael E. “Benchmarking the Operating
Efficiency of Toll Collection Systems,” The Transportation Research Board of The National
Academies of Science Annual Meeting (January 19-22, 2005), Washington, DC.

Peters, Jonathan R., and Wang, J. George. “Teaching Tools for the Finance Curriculum,” The
CUNY Information Technology Conference (November 19, 2004), New York, New York.

Peters, Jonathan R. and Kramer, Jonathan K. “The Financial Efficiency of Toll Collection,”
Eastern Economic Association Annual Meeting (February 19-22, 2004), Washington, DC.

Peters, Jonathan R. "Portfolio Simulation in the Finance Curriculum: What Are We Doing and
Why Do We Do It," Financial Management Association's Annual Meeting (October 8-11, 2003),
Denver, Colorado.

Kramer, Jonathan K. and Peters, Jonathan R. "Economic Value Added and the Cost of Capital,"
Financial Management Association's Annual Meeting (October 8-11, 2003), Denver Colorado.

Invited Speaker: “Expropriative Tolls, Traffic, Mass Transit, Infrastructure and Transportation
Policy on Staten Island” at The Staten Island Chamber of Commerce Transportation Conference,
Staten Island, New York, April 4, 2003

Peters, Jonathan R. "Estimating Health Outcomes in 94 Countries," Eastern Economic
Association Annual Meeting (February 19-21, 2003), New York, New York.

Invited Speaker: “The Poillon-Seguine-Britton House 1695-1997” at the Historic Districts
Council Preservation Panel: Enforcing the Landmarks Law, New York, New York, August 19,
2002.
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Peters, Jonathan R, and Sterns, Donald E. "Bringing Educational Relevancy to the First-Year
College Experience By Bearing Witness to Social Issues," Science Education for New Civic
Engagements and Responsibilities Summer Institute 2002, The Association of American
Colleges and Universities. Santa Clara University, San Jose, California, August 2-6 2002.

Peters, Jonathan R. and Kramer, Jonathan K. "A Model of the Total Cost of Highway Toll
Collection," Association of Pennsylvania University Business and Economic Faculties Annual
Meeting (October 4-5 2001), State College, Pennsylvania.

Kramer, Jonathan K. and Peters, Jonathan R. "What’s Wrong With EVA?," presented at the
Association of Pennsylvania University Business and Economic Faculties Annual Meeting
(October 4-5, 2001), State College, Pennsylvania.

Peters, Jonathan R. and Kramer, Jonathan K. "An Examination of the Economic and
Environmental Impacts of Toll Collection on the Garden State Parkway," Eastern Economic
Association Annual Meeting (February 2001), New York, New York.

Peters, Jonathan R. and Stearns, Donald E. "Teaching Economics and Environmental Science
Through the Use of Local Environmental Problems: A Case Study of Toms River, New Jersey,"
Eastern Economic Association Annual Meeting (February 2001), New York, New York.

Kramer, Jonathan K. and Peters, Jonathan R. "An Interindustry Analysis of Economic Value
Added as a Proxy for Market Value Added," Association of Pennsylvania University Business
and Economic Faculties Annual Meeting (October 2000), State College, Pennsylvania.

Peters, Jonathan R. and Stearns, Donald E. “Learning Communities Within and Between
Disciplines,” The Association of American Colleges and Universities Conference: Rethinking
Scientific Literacy in an Age of Diversity (April 14-15, 2000), Charleston, South Carolina.

Kramer, Jonathan K. and Peters, Jonathan R. "An Interindustry Analysis of Economic Value
Added as a Proxy for Market Value Added," Financial Management Association’s Annual
Meeting (October 6-9, 1999), Orlando, Florida.

Kramer, Jonathan K. and Peters, Jonathan R. "Using Portfolio Simulations in Courses other than
Investments and Financial Management," Financial Management Association's Annual Meeting
(October 6-9, 1999), Orlando, Florida.

Kramer, Jonathan K. and Peters, Jonathan R. “Using Portfolio Simulations Across the Finance
Curriculum," Association of Pennsylvania University Business and Economic Faculties Annual
Meeting (October 1998), State College, Pennsylvania.

Peters, Jonathan R. "The Effects of Pharmaceutical Consumption on Health: A Cross-National
Study," Eastern Economic Association's Annual Meeting (March 1992), New York, New York.

OTHER
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Session Chair: Portfolio Simulation in the Finance Curriculum at the Financial Management
Association Annual Meeting 2003.

Elected Program Chair: Association of Pennsylvania University Business and Economic
Faculties 2003 Annual Meeting, October 2002.

Discussant: Eastern Economic Association Annual Meetings: New York, February 2003 and
February 2001.

CURRENT MEMBERSHIP IN PROFESSIONAL SOCIETIES

American Economics Association
Eastern Economics Association
Financial Management Association
Transportation Research Board

RECORD OF TEACHING

Macaulay Honors College

HON 224         Honors Seminar 4

Business Department

BDA 763     Forecasting for Managers and Researchers (Graduate)
ECO/MGT 230 Statistics
ECO/FNC 213 Money & Capital Markets
ECO/FNC 240 Managerial Finance I
ECO/FNC 360 Investment Analysis
FNC 350     Advanced Corporate Finance
FNC 600     Managerial Finance (Graduate)
MKT 413     Marketing Research

Environmental Science Program

ESC 726        Transportation Systems (Graduate)

Economics Department (1989-1993)

ECO 101        Introduction to Economics
ECO 210        Price Theory
ECO 212        Income and Employment

RECORD OF SERVICE

NATIONAL
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Panel Member: National Cooperative Highway Research Program Project 08-100, FY 2014
“Environmental Justice Analyses When Considering Toll Implementation or Rate Changes”,
National Research Council, National Academies of Science, Transportation Research Board. 2013 –
Present.

Panel Member: National Cooperative Freight Research Program Project 33, FY 2010 “Impact of
Environmental Regulation on the Supply Chain”, National Research Council, National Academies
of Science, Transportation Research Board. 2010 – Present.

Technical Consultation: Economic Competitiveness Performance Measures for Transportation. The
House Committee on Science and Technology, Subcommittee on Technology and Innovation.
October, 2009.

Technical Consultation: The Inspector General of the City of Chicago, “Report of the Inspector
General’s Findings and Recommendations: An Analysis of the Lease of the City’s Parking Meters”,
The City of Chicago, June 2, 2009.
Technical Consultation: Toll Road Performance Metrics. The Nevada State Senate Energy,
Infrastructure and Transportation Committee and The Nevada State Assembly Transportation
Committee. Carson City, Nevada. April 2, 2009.

Technical Consultation: U.S. Government Accountability Office (GAO) Study #541047
“Innovative Practices in the Designing, Building, and Financing of Transit Projects” General
Accountability Office: February - March, 2009. (Formerly the General Accounting Office)

Panel Member: National Cooperative Highway Research Program Project A19-08, FY 2009 “Cost
of Alternative Finance Systems”, National Research Council, National Academies of Science,
Transportation Research Board. 2009 – 2011.

Committee Member: Congestion Pricing Committee, The Transportation Research Board of the
National Academies of Science. 2011 - present.

Committee Member: Transportation Economics Committee, The Transportation Research Board of
the National Academies of Science. 2008 - present.

Committee Member: Taxi Subcommittee, The Transportation Research Board. 2012 – present.

Committee Member: Economics of Parking Subcommittee, The Transportation Research Board.
2008 - present.

Committee Member: Economics of Pricing Joint Subcommittee, The Transportation Research
Board – 2006-present.

Expert Testimony: Submitted Amicus Curiae Brief in McKeown vs. The Delaware Bridge
Authority, et al. - The United States Supreme Court - April 24, 2002.

COMMUNITY
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Expert Commentary: New Jersey Turnpike Authority Toll Escalation Hearing. Woodbridge, New
Jersey. October 10, 2008.

Panel Member and Technical Expert: American Institute of Architects Regional/Urban Design
Assistance Team #142: Staten Island Waterfront and Community Revitalization. Staten Island, New
York. September 2008.

CUNY

Macaulay Honors College Honorary Degree Committee – 2008.

Macaulay Honors College External Review – Faculty Panel Member – May 2008.

Research Fellow: The University Transportation Research Center – Region II, 2004-present.

Board Member: CUNY Institute for Urban Systems, 2004-present.

CSI

Faculty Member: Vice President for Research and Graduate Studies Search Committee. November
2008-2009.

Co-Chair: CSI National Geographic Information Systems Day Program: November 2005 – present.

Faculty Member: Scientific Computing Interdisciplinary Faculty Search Committee. September
2008-present.

CSI Exchange Program Site Coordinator – Canberra, Australia: August 2008

Faculty Member: CSI Auxiliary Services Board: 2008-present.

Parking Subcommittee: CSI Auxiliary Service Corporation: 2008-present.

Chair: Infrastructure Subcommittee: CSI-SIP Staten Island Indicators Project. September 2004 –
2008.

Presenter: “The Staten Island Economy: From Bread Basket to Basket Case?” at the CSI-SIP
Staten Island Economic Conference, December 2005.

Member: Center for Excellence in Learning Technology Steering Committee: May 2005 – 2009.

Member: CSI Geographic Information System Project Team: May 2004 – present.

Member: CSI Traffic Modeling Project Team: November 2005 – present.
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Presenter: “GIS Models of Transportation on Staten Island” with Michael Kress and Alan Benimoff
at the Borough President’s CSI-GIS grant press conference, July 28, 2004.

Presenter: “The Foreign Born Population of Staten Island: Past, Present, and Future” at CSI-SIP
Immigration Forum, March 2004.

Presenter: “Transportation Finance 101: The Basics of National and NY Metro Transportation
Funding” at the CSI-SIP Transportation Conference, March 2004.

Faculty Thesis Advisor: M.S. Program in Environmental Science
_____ Denis Kearney - “Performance Improvements for Staten Island Bus Operations.”
_____ Judy Flood - “The Environmental and Economic Benefits of Expanding the Staten Island
       Commuter Rail Network.”

DEPARTMENT/PROGRAM

Department Chair: Department of Accounting and Finance. August 2012 to present.

Acting Department Chair: Department of Business. January – June 2009

Program Director: Advanced Certificate in Business Analytics of Large Scale Data

Search Committee Chair: Finance Search, 2012 – 2015.

Search Committee Chair: Finance Search, 2008-2009.

Search Committee Chair: Accounting Search, 2014-2015.

College Curriculum Committee: Department Representative: 2005-2007.

College Facilities Committee: Department Representative: 2006-present.

Finance Area Chair: Spring 2001-Spring 2006.

Search Committee Chair: Finance Search, 2002-2003.

Master of Ceremonies: Departmental Commencement: 2000-2009

Departmental Awards Committee: 2002 – 2010


THESIS SUPERVISION

Doctoral Student Advisor:
_____ Hyoung S. Shim, Ph.D. Program in Economics
                         Advanced to Level Three Candidate
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                         2009 to present.
                         Provided $100,000+ in Graduate Support through the CUNY HPC
                         over 4 years,

_____ Adam L. Davidson, Ph.D. Program in Earth and Environmental Science
                       Advanced to Level Two Candidate
                       2011 to present.
                       Provided $25,000+ in Graduate Support through the CUNY HPC and
                       others over 3 years.

Undergraduate Honors Student Advisor:

_____ Katherine Brigandi, “Estimating the Financial Impact of Superstorm Sandy on the
                           Regional Housing Stock – New York and New Jersey” 2013

_____ Afrona Kaziu,       “Accessibility for Disabled Persons in New York Rail Transit: a
                          Comparison of Rail Road stops in Urban and Suburban areas” 2013

_____ Michael Evans,     “Evaluating the Operating Financial Impacts of Opening the 2nd
                          Avenue Subway” 2013

_____ Thomas Brigandi, “Financing the Future: Financial Performance, Modernization and
                        Funding Options for the Port Authority's Staten Island Bridges” 2012

_____ Jonathan Torres,   “Utilizing Advanced Mapping Techniques to Understand Spatial
                          Distortion in Transportation Maps” 2008-2009

____ Dovile Norkeviciute, “Staten Island Bus Ridership and Station Quality” 2004-2005.
      Received CSI Divisional Funding for Summer Research Support -2005.

____Amanda Katz,          “Estimating Transportation Revenue and Spending in New York
                           City by County” 2003-2004.
       Winner of a CSI Outstanding Undergraduate Scholar Award – 2004.
       Received CSI Divisional Funding for Summer Research Support -2003.

____Susan Pace,           “Air Quality and Queuing Issues in Electronic Toll Collection”
                          2002-2003
